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                      IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF PUERTO RICO

   IN RE                                                BANKRUPTCY 18-02100 MCFs

   VICTOR M MUNOZ MORALES &                             CHAPTER 13
   ZOE DELY GONZALEZ JIMENEZ
   Debtors


   DEBTORS’ MOTION TO INFORM REPEATED FOLLOW UP w/ FIRSTBANK of PR to
    PREPARE FOR FINAL HEARING ON §362 MOTION FOR RELIEF TO NO AVAIL

 TO THE HONORABLE COURT:

         COME NOW debtors through their legal representation and respectfully inform this Court
 of repeated outreach with Movant to no avail:

    1. This case was filed on April 19, 2018 under the provisions of Chapter 13 of the Bankruptcy
        Code 11 U.S.C. §1301 et seq. Doc #1.
    2. The Plan dated November 29, 2018 was confirmed on December 7, 2019 at doc #48.
    3. The §362 motion was filed on May 9, 2019 at doc #54. Debtors responded to the same on
        May 22, 2019 at docs #63 and #83.
    4. The first hearing in this matter was scheduled for June 4, 2019. On the same date after arriving
        in San Juan we were called by Movant to agree to continue the hearing for a later date, to
        which we agreed and returned to our office in Hatillo without arriving at the Court house but
        nevertheless already parked in Old San Juan.
    5. The next hearing on this matter was scheduled for August 20, 2019 and although counsel for
        debtor sought a continuance of that hearing on August 13, 2019, Movant did not acquiesce
        to a change in the hearing date so substitute counsel was coordinated before traveling outside
        of Puerto Rico on a family emergency.
    6. Substitute counsel, Lyssette Morales Vidal appeared on behalf of the debtors on August 20,
        2019. Debtors were present at the scheduled hearing. After discussion of the case between
        both counsels and reminding counsel of the innumerable calls and contacts with his office by
        counsel for debtors to resolve what we understand to be an unnecessary hearing, Movant once
        again requested to agree to another continuance to certify, as we both informally concluded
        on that same date, that debtors were not in default and/or needed to cure what we both
        understood on that date to be payment of the August installment only.




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    7. Movant promised counsel to resolve the matter and send us a Stipulation promptly after the
        last hearing. None was received by counsel for debtors during the almost one month since
        the last hearing on August 20, 2019.
    8. After many calls and contacts by counsel for debtors, Movant’s attorney and/or his office
        assured us that they were still awaiting confirmation of what appeared at the last hearing date
        was no longer an issue: that debtors only owed the then current month of August.
    9. On this same date, or the day prior to the hearing, upon once again reaching out to Movant,
        counsel for debtors has now been informed that the default is near $5,000, amount which
        debtors deny. Refer to table and supporting evidence attached to doc #63 and pleading at
        doc #83.
    10. At the beginning of this matter, near to May, counsel for debtor made a RESPA request to
        Movant for a detail of debtors’ payments during the last year, or more exact, from petition
        date to the date of the §362 motion in May when the motion was filed.
    11. Despite repeated calls to Movant and emails, Movant has failed to deliver a payment history
        as requested months ago.
    12. The debtors requested and obtained approval for Loss Mitigation at docs #76 and #77. They
        have delivered the required documentation to FirstBank, yet under the pressure of the pending
        §362 motion have paid with utmost sacrifice debtors the 16 payments since the filing of the
        case, 16 months and 28 days have transpired since the filing of this case as of April 19, 2019.
    13. Debtors have raised valid defenses in their response(s) to the §362 Motion for Relief from
        Automatic Stay at docs #63 and #83 which should be considered by this Court at the third
        hearing on this matter on September 17, 2019.
    14. Movant’s lack of precision in its motion, its constant change in balances owed [although
        denied], and what appears to be deficient accounting of its mortgage and bankruptcy accounts
        should result in the denial of the motion in favor of debtors.
                15.     Counsel for debtors has expended substantial time and effort reaching out to
        Movant to no avail. Despite counsel’s constant and repeated telephonic contacts with Movant
        through its counsel’s office, we are no where near to resolving the issue of what is NOT
        OWED by debtors.
        WHEREFORE, debtors humbly request this Honorable Court, to take notice of the
 information given before and deny First Bank’s motion for relief from the automatic stay.
        CERTIFICATE OF SERVICE: I hereby certify that on this date, I electronically filed the
 above document with the Clerk of the Court using the ECF/CM System which sends a notification
 of such filing to ECF/CM user and by regular mail to non ECF/CM users.



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 In Hatillo Puerto Rico, September 16, 2019


                                                       Respectfully Submitted
                                                       /s/ Melissa Cofán Hernández

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                                                       For Debtors




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